           Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 1 of 11



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10   USA, Inc., and HiSilicon Technologies Co. Ltd.

11
                                     UNITED STATES DISTRICT COURT
12                                 NORTHERN DISTRICT OF CALIFORNIA
                                        SAN FRANCISCO DIVISION
13
      HUAWEI TECHNOLOGIES CO., LTD.,                        Case No. 16-cv-02787-WHO
14    HUAWEI DEVICE USA, INC., and
      HUAWEI TECHNOLOGIES USA, INC.,
15                                                          HUAWEI’S REPLY IN SUPPORT OF ITS
                Plaintiffs / Counterclaim-Defendants,       FRCP 59(e) MOTION TO ALTER OR
16    v.                                                    AMEND THE COURT’S APRIL 13, 2018
                                                            ORDER GRANTING SAMSUNG’S
17    SAMSUNG ELECTRONICS CO., LTD.,                        MOTION FOR ANTISUIT INJUNCTION,
      SAMSUNG ELECTRONICS AMERICA,                          OR, IN THE ALTERNATIVE, L.R. 7-9
18    INC.,                                                 MOTION FOR LEAVE TO FILE SAME

19              Defendants / Counterclaim-Plaintiffs,

20                      and                                 Hearing Date: June 6, 2018
                                                            Time: 2:00 P.M. Courtroom 2, 17th Floor
21    SAMSUNG RESEARCH AMERICA,                             Judge: Hon. William H. Orrick

22              Defendant,
      v.
23
      HISILICON TECHNOLOGIES CO., LTD.,
24
                        Counterclaim-Defendant.
25

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           HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                     GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
            Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 2 of 11



 1                                                        TABLE OF CONTENTS

 2   I.         INTRODUCTION ...............................................................................................................1

 3   II.        ARGUMENT .......................................................................................................................2

 4              A.        The Order Rests on a Factual Error Concerning the Timing of Samsung’s
                          Counterclaims. .........................................................................................................2
 5
                B.        Huawei Has Not Waived Its Argument Regarding the Timing of Samsung’s
 6                        Counterclaims. .........................................................................................................3

 7              C.        The Error Concerning the Timing of Samsung’s Counterclaims Undermines
                          Three Key Portions of the Order. .............................................................................4
 8
                D.        The Order Rests on a Manifest Legal Error Because it Fails to Apply the
 9                        Supreme Court’s Winter Test for Preliminary Injunctions. .....................................6

10   III.       CONCLUSION ....................................................................................................................7

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            HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                      GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
          Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 3 of 11



 1                                                     TABLE OF AUTHORITIES
 2                                                                                                                                        Page(s)
 3   Cases
 4
     Allstate Ins. Co. v. Herron,
 5       634 F.3d 1101 (9th Cir. 2011) .........................................................................................................6

 6   Laker Airways Ltd. v. Sabena, Belgian World Airlines,
        731 F.2d 909 (D.C. Cir. 1984) .........................................................................................................5
 7
     Microsoft Corp. v. Motorola, Inc.,
 8      696 F.3d 872 (9th Cir. 2012) ...............................................................................................1, 4, 5, 7
 9   Stonington Partners, Inc. v. Lernout & Hauspie Speech Prods., N.V.,
10      310 F.3d 118 (3d Cir. 2002).............................................................................................................7

11   Winter v. Nat. Res. Def. Council, Inc.,
        555 U.S. 7 (2008) .....................................................................................................................1, 6, 7
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         HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                   GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
          Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 4 of 11



 1   I.       INTRODUCTION

 2            As Huawei explained in its motion (and at the hearing), the anti-suit injunction entered by

 3   this Court cannot properly be justified by the counterclaims filed by Samsung, months after the

 4   Shenzhen action. That would be inconsistent with governing U.S. law and principles of international

 5   comity since a later-filed U.S. action cannot take precedence over an earlier-filed foreign action.

 6   Samsung’s Response tacitly concedes that this would be legal error, and Samsung therefore tries to

 7   confuse the issue by arguing that even though the Court based its anti-suit injunction on the later-

 8   filed Samsung counterclaims, the Court could just as well have based it on Huawei’s original

 9   complaint.

10            Samsung tells the Court that Huawei’s original complaint raised the issue of Huawei’s

11   compliance with FRAND and that that is sufficient for the Court to enjoin enforcement of the

12   Shenzhen injunction. But that is not correct, and it is not the basis on which the Court entered its

13   Order. As Microsoft II makes clear, and as this Court noted in the Order, the test is not whether the

14   issues between the relevant U.S. and foreign actions are “the same” in some general sense, but

15   whether “the first action is dispositive of the action to be enjoined.” (Dkt. No. 280 (“Order”) at 6,

16   citing Microsoft Corp. v. Motorola, Inc., 696 F.3d 872, 881 (9th Cir. 2012) (“Microsoft II”).) Under

17   no conceivable scenario could the action defined by Huawei’s complaint in this Court determine

18   whether Huawei can pursue infringement claims in China and seek injunctive relief on those claims.

19   That issue, and with it the potential for this case to even arguably be dispositive of the Shenzhen

20   action, was not made part of this case until Samsung filed its counterclaims months later.

21            It is clear that the Court’s error concerning the timing of the relevant actions led directly to

22   the erroneous determinations that this action was filed first for anti-suit injunction purposes, that at

23   least one Unterweser factor was satisfied, and that an injunction would not offend comity. Beyond

24   that, Samsung’s assertion of waiver—that Huawei failed to raise the timing problem prior to filing

25   its Rule 59 motion—both ignores the relevant context and is simply false.

26            Finally, Samsung fails to mount any serious defense of the Order’s legal conclusion that the

27   Supreme Court’s Winter decision does not apply. Winter requires consideration of all four

28   injunction factors before any form of injunctive relief can be granted, and the Ninth Circuit’s
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          HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                    GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
           Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 5 of 11



 1   decision in Microsoft II neither could nor did change that requirement. Samsung failed to address

 2   the Winter factors in its motion, it again fails to address them in its response, and they are not

 3   satisfied in this case. Under the correct view of the facts and law, Samsung’s motion for an

 4   injunction should have been denied, and Huawei respectfully requests that this Court grant Huawei’s

 5   motion to alter or amend the Order.

 6   II.       ARGUMENT

 7             A.      The Order Rests on a Factual Error Concerning the Timing of Samsung’s
                       Counterclaims.
 8
               According to Samsung, there was no timing error here, because Huawei’s complaint “first
 9
     raised the dispositive issue of Huawei’s FRAND conduct.” (Dkt. No. 287 (“Rule 59 Opp.”) at 4-6.)
10
     That is because, Samsung says, Huawei could prevail on the claim that Samsung breached its
11
     FRAND obligations stated in its complaint only if Huawei established that it had complied with its
12
     own FRAND obligations—the “reciprocity” mantra Samsung invokes for the very first time. 1 That
13
     may be true, but it is entirely irrelevant. Had there been no counterclaims, nothing in the Court’s
14
     eventual ruling on Huawei’s complaint would have resulted in this Court adjudicating whether
15
     Huawei could obtain injunctive relief in other forums. Win or lose on the claims presented by its
16
     complaint, Huawei’s ability to take action in other jurisdictions would be unaffected. Its complaint
17
     sought relief only against Samsung, and could not have resulted in an order precluding it from acting
18
     elsewhere. Huawei’s ability to seek relief elsewhere was first, and only, presented to this Court by
19
     Samsung’s later-filed counterclaims—a critical point that the Court overlooked in its Order, as
20
     Huawei’s Rule 59 motion explained.
21
               The Order makes this clear because it does not rely on or even mention any notion of so-
22
     called “reciprocity.” That is hardly surprising, given that Samsung’s anti-suit motion and reply did
23
     not mention reciprocity, and Samsung’s argument that reciprocity somehow supports an anti-suit
24
     injunction is raised for the first time in its Rule 59 opposition. The Order, however, focused on
25
     Samsung’s breach of contract counterclaim and the remedies Samsung seeks on that counterclaim
26

27   1
      “Reciprocity,” as Samsung uses the term, refers to the ability under the ETSI IPR Policy of an SEP
     holder like Samsung to condition its commitment to license its SEPs on FRAND terms on the
28   would-be licensee’s willingness to license its SEPs back to Samsung on FRAND terms as well.
                                                      2
           HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                     GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
         Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 6 of 11



 1   concerning “the availability of injunctive relief.” (Rule 59 Opp. at 6, quoting Order at 13.) For the

 2   reasons explained in Huawei’s Rule 59 motion, that led the Court to err by failing to recognize that

 3   Samsung’s later-filed counterclaim cannot support the Order’s findings (1) that this case would

 4   “dispose of” the Shenzhen Actions; (2) that one Unterweser factor is satisfied; and (3) that the anti-

 5   suit injunction would not offend comity. (See Dkt. No. 285 (“Rule 59 Mot.”) at 3-6.)

 6          Samsung also repeats the Order’s additional error that the Shenzhen Action could “force”

 7   Samsung “to accept Huawei’s licensing terms.” (Rule 59 Opp. at 6, quoting Order at 17.) That is

 8   not correct. As Huawei explained, Samsung could accept Huawei’s offer, which the Shenzhen Court

 9   determined was consistent with FRAND, or it could agree to a neutral, third-party FRAND

10   determination. (Rule 59 Mot. at 8 & n.6.) In neither circumstance would Samsung be forced to

11   accept non-FRAND terms. (See Dkt. No. 254 (March 14, 2018 Hearing Tr.) (“Tr.”) at 29:1-11.)

12          B.      Huawei Has Not Waived Its Argument Regarding the Timing of Samsung’s
                    Counterclaims.
13
            Samsung’s injunction motion largely ignored its counterclaims and focused entirely on
14
     Huawei’s complaint. As a result, Huawei had no reason to address the timing of Samsung’s
15
     counterclaims in its opposition brief. Samsung repeatedly and explicitly directed the Court to
16
     Huawei’s decision to file suit here, and urged that Huawei’s action, not Samsung’s counterclaims,
17
     supported an anti-suit injunction. (See, e.g., Dkt. No. 234 (“Anti-Suit Mot.”) at 1 (issues “that
18
     Huawei chose to put before this Court,” “Huawei chose to initiate that strategy in this Court”); id. at
19
     2 (“Huawei filed this contract action,” “worldwide FRAND claims that Huawei first presented
20
     here”); id. at 3 (“Huawei chose to present the global contract issues…to this Court”).) Samsung’s
21
     emphasis on Huawei’s complaint was no accident: had it relied on its counterclaims to support an
22
     anti-suit injunction, it would have been forced to confront the fact that its counterclaims were filed
23
     months after the Shenzhen actions. And because Samsung did not rely on its counterclaims, the fact
24
     that they were filed months later was irrelevant to Huawei’s response to Samsung’s motion as filed.
25
            It was not irrelevant, however, to the Court’s subsequent reasoning. The Order, as Huawei
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     explained, conflates Huawei’s complaint with Samsung’s counterclaims, yet acknowledges that only
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     the later-filed counterclaims specifically seek to prevent Huawei from pursuing or enforcing
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                                                       3
        HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                  GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
         Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 7 of 11



 1   injunctive relief against Samsung in China. (See Rule 59 Mot. at 3, citing Order at 4 n.4, 13, 15.)

 2   The Order then relies on the remedy sought by Samsung’s counterclaims as the central basis for

 3   finding an anti-suit injunction appropriate, while failing to recognize that the now-crucial

 4   counterclaims were filed months after the Shenzhen Action. (See Rule 59 Mot. at 3-6.) Huawei

 5   could not have responded to that reasoning until the Court set it forth in the Order.

 6           Regardless, Samsung’s argument that Huawei never pointed out the timing of Samsung’s

 7   counterclaims is incorrect. Huawei presented a timeline to the Court clearly showing Samsung’s

 8   August 2016 counterclaims coming months after Huawei’s Shenzhen complaints. (Rule 59 Mot. Ex.

 9   A at 3.) At argument (and in reference to that timeline), counsel for Huawei explained that “the

10   lawsuit,” i.e., the counterclaims, “that is the basis of the anti-suit injunction before the Court was

11   filed in this [C]ourt in August of 2016, after these Chinese cases seeking injunctions were already in

12   the works and in progress.” (Tr. at 5:7-10.) Huawei thus properly presented the facts concerning the

13   timing of Samsung’s counterclaims to the Court well before the Court ruled on Samsung’s motion.

14           C.      The Error Concerning the Timing of Samsung’s Counterclaims Undermines
                     Three Key Portions of the Order.
15
             The fact that Samsung’s counterclaims are the basis for the anti-suit injunction, and that it
16
     was filed months after the now-enjoined Shenzhen Action, directly undermines three grounds on
17
     which the Order granted the anti-suit injunction. Samsung’s arguments to the contrary are
18
     unavailing.
19
             First, as noted above, the key legal requirement under Gallo, Microsoft, and other anti-suit
20
     injunction cases is not whether the “issues are the same” in some general sense, but whether the first-
21
     filed domestic action would be dispositive of the later-filed foreign suit. Here, the only aspect of this
22
     case that could even arguably “dispose of” the Shenzhen Action is Samsung’s later-filed
23
     counterclaims and the remedy Samsung seeks barring Huawei from obtaining injunctions. 2 (See
24
     Rule 59 Mot. at 3-4.) Those counterclaims were filed months after the Shenzhen complaints, which
25
     means that there is no first-filed domestic claim that would be dispositive of the foreign action.
26

27   2
       It would be premature to conclude now that any adverse ruling on Samsung’s counterclaims would
     necessarily support an order barring Huawei from pursuing or enforcing injunctive relief in China or
28   elsewhere.
                                                    4
         HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                   GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
         Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 8 of 11



 1          Second, with respect to the Unterweser factors, Samsung ignores what the Order actually

 2   found: that “the policy that is undermined is this court’s ability to determine the propriety of

 3   injunctive relief in the first instance.” (Order at 17 (emphasis added).) As Huawei explained, that

 4   finding is erroneous because the availability of injunctive relief for Samsung’s infringement of

 5   Huawei’s SEPs in China was placed before the Shenzhen Court “in the first instance,” and was

 6   placed before this Court only months later, in Samsung’s counterclaims. (See Rule 59 Mot. at 4-5.)

 7   Samsung then inaccurately cites to the Court’s discussion of using SEPs as a “bargaining chip” as

 8   being part of the Court’s analysis of domestic policy and equitable considerations on pages 16 and

 9   17 of the Order. (See Rule 59 Opp. at 9 (“… the threat that Huawei would use its SEPs as a

10   ‘bargaining chip.’ Order at 16-17”).) But the Court referred to a potential “bargaining chip” only

11   when discussing whether the separate “vexatious or oppressive” Unterweser factor was present, and

12   concluded that it was not. (Order at 18-19.) The “bargaining chip” comment—which was perfectly

13   benign (see Dkt. No. 240 (“Anti-Suit Opp.”) at 21 n.18)—had nothing to do with the Court’s

14   conclusion that an Unterweser factor was present.

15          Samsung urges the Court to ignore Laker Airways Ltd. v. Sabena, Belgian World Airlines,

16   731 F.2d 909 (D.C. Cir. 1984), a foundational anti-suit injunction opinion that the Ninth Circuit has

17   repeatedly cited (e.g., Microsoft Corp. v. Motorola Inc., 696 F.3d 872, 886 (9th Cir. 2012).) But

18   Samsung does not dispute the central principle of that case—that parallel proceedings “should

19   ordinarily be allowed to proceed simultaneously, at least until a judgment is reached in one which

20   can be pled as res judicata in the other.” (Rule 59 Opp. at 9, quoting Laker Airways.) As Huawei

21   argued, the Shenzhen Court has already evaluated the parties’ FRAND conduct and determined that

22   Huawei is entitled to an injunction. (Anti-Suit Opp. at 17 n.15.) That Shenzhen Action commenced

23   before Samsung’s counterclaims were filed, demonstrating the error in the Order’s “in the first

24   instance” Unterweser analysis.

25          Third, Samsung’s comity arguments only underscore the serious error in the Order.

26   Samsung explains that “the timing of filing is relevant to the comity analysis when a defendant files

27   a later action in a foreign court,” and argues that “[i]f the foreign action were filed later than the

28   domestic action that might indicate that the defendant is ‘attempting to evade the rightful authority
                                                      5
        HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                  GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
         Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 9 of 11



 1   of the district court.’” (Rule 59 Opp. at 10, emphasis in original.) This reasoning applies precisely

 2   to Samsung’s conduct, and makes the offense to comity clear. Huawei filed suit in Shenzhen in May

 3   2016. Samsung responded with a “later action in a foreign court”—its counterclaims in this Court,

 4   which explicitly seek relief barring Huawei’s earlier-filed Shenzhen Action. When the Shenzhen

 5   Court ruled against Samsung, Samsung sought its anti-suit injunction here. Samsung’s attempt to

 6   use its “later action” in this Court “to evade the rightful authority” of the Shenzhen Court could not

 7   be more plain.

 8          As Huawei explained, the Shenzhen Court had every right to adjudicate the dispute Huawei

 9   placed before it in May 2016. (Rule 59 Mot. at 5.) Samsung does not argue otherwise, and does not

10   dispute that it had a full and fair opportunity to present its own evidence and argument concerning

11   the parties’ FRAND compliance. (See Rule 59 Opp. at 10-11.) There is no basis for this Court to

12   use Samsung’s later-filed counterclaims to set aside the judgment of a full and fair proceeding in a

13   Chinese court, in order to replace that court’s judgment with its own.

14          D.        The Order Rests on a Manifest Legal Error Because it Fails to Apply the
                      Supreme Court’s Winter Test for Preliminary Injunctions.
15
            As Samsung concedes, Huawei argued in its opposition that Winter v. Nat. Res. Def. Council,
16
     Inc., 555 U.S. 7, 20 (2008), applies to this case and that Samsung had not and could not satisfy that
17
     test. (See Rule 59 Opp. at 11.) Instead of addressing the Winter factors and determining whether
18
     they were satisfied, the Order held that Winter does not apply. (Order at 8.) Samsung’s bizarre
19
     suggestion that Huawei cannot raise that legal error in a Rule 59 motion (see Rule 59 Opp. at 11,
20
     suggesting “appropriate sanctions”) makes no sense. Rule 59(e) relief is appropriate where
21
     “necessary to correct manifest errors of law or fact upon which the judgment rests.” Allstate Ins. Co.
22
     v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011). As Huawei explained, the Order’s conclusion that
23
     Winter does not apply meets this standard. (Rule 59 Mot. at 6-8.)
24
            Samsung attempts a waiver argument, suggesting that Huawei somehow passed on the
25
     opportunity to address the Court’s Winter conclusions at the March 14 hearing. (Rule 59 Opp. at 11-
26
     12.) Samsung is wrong. The Court stated at the outset of the hearing that “the Gallo test applies.”
27
     (Tr. at 3:12.) No party disputed that the Gallo test “applies”—only whether it displaced the entire
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                                                      6
        HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                  GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
        Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 10 of 11



 1   set of Winter factors. The Court did not suggest at the hearing that it had determined that Winter

 2   could be ignored. To the contrary, the Court asked about potential harm to Samsung, and in

 3   response Huawei explicitly addressed the lack of irreparable harm (id. at 11:8-12:7), an inquiry

 4   required by Winter, not Gallo. Samsung’s suggestion that Huawei somehow gave up its argument

 5   that Winter applies is baseless.

 6          Finally, Samsung again fails to address Winter itself, and offers no response to Huawei’s

 7   explanation that based on the Supreme Court’s decision, the Winter factors must be analyzed “in

 8   each case” when considering “any injunctive relief.” (Rule 59 Mot. at 7, quoting Winter, 555 U.S. at

 9   24, 32.) Samsung also ignores that Microsoft II never held that Winter was entirely displaced by

10   Gallo, and that instead the Ninth Circuit explicitly stated that the Gallo test stands in for only one of

11   the Winter factors. (See Rule 59 Mot. at 7.) Samsung cites Stonington Partners, Inc. v. Lernout &

12   Hauspie Speech Prods., N.V., 310 F.3d 118, 128-29 (3d Cir. 2002), a Third Circuit opinion issued

13   six years before Winter. Stonington Partners cites no Supreme Court cases and provides no basis

14   for ignoring the Supreme Court’s 2008 direction in Winter that all preliminary injunction factors

15   must be addressed in any case awarding such relief. The Order did not do that here, and that is a

16   manifest error of law warranting Rule 59 relief.

17   III.   CONCLUSION

18          For the foregoing reasons, and for those set forth in Huawei’s memorandum in support of its

19   motion, Huawei respectfully requests that this Court alter and/or amend the Order under Fed. R. Civ.

20   P. 59(e) to deny Samsung’s motion for an anti-suit injunction.

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        HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                  GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
       Case 3:16-cv-02787-WHO Document 291 Filed 05/10/18 Page 11 of 11


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       HUAWEI’S REPLY IN SUPP. OF FRCP 59(e) MOTION TO ALTER OR AMEND THE COURT’S APRIL 13, 2018 ORDER
                 GRANTING SAMSUNG’S MOTION FOR ANTISUIT INJUNCTION, CASE 16-CV-02787-WHO
